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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IMAGOS FILMS, LLC                            :
d/b/a IMAGOS SOFTWORKS,                      :       CIVIL ACTION
and DON THACKER,                             :
           Plaintiffs,                       :
                                             :
      v.                                     :
                                             :
ALEX THOMAS MAUER,                           :       No. 17-2964
         Defendant.                          :

                                            ORDER

      AND NOW, this 19th day of December, 2017, following a hearing on December 18, 2017,

it is ORDERED that:

      1.       Alex Mauer shall stop directly communicating with the Court and the Court’s

               deputies.

      2.       Should Mauer wish to communicate with the Court, she must file any communication

               with the Clerk of Court so that the communication can de docketed.

      3.       Mauer shall stop communicating with Plaintiff’s lawyer for the purpose of obtaining

               legal advice because the Pennsylvania Rules of Professional Code of ethics prohibits

               counsel from providing legal advice to her.


                                             BY THE COURT:



                                             Berle M. Schiller, J.
